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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

BLUE SPIKE, LLC,                              )
                                              )
                      Plaintiff,              )
                                              )
              v.                              ) C.A. No. 17-928 (LPS)
                                              )
ROKU, INC.,                                   )
                                              )
                      Defendant.              )

                      DEFENDANT ROKU, INC.’S RULE 12(C)
                   MOTION FOR JUDGMENT ON THE PLEADINGS

       Pursuant to Federal Rule of Civil Procedure 12(c), Defendant Roku, Inc. (“Roku”) moves

for judgment on the pleadings dismissing each and every claim of Plaintiff Blue Spike, LLC’s

Complaint for failure to state a claim upon which relief can be granted. The grounds for this

motion are set forth in Roku’s Opening Brief, submitted herewith.

                                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                 /s/ Jack B. Blumenfeld

                                                 Jack B. Blumenfeld (#1014)
OF COUNSEL:                                      Stephen J. Kraftschik (#5623)
                                                 1201 North Market Street
Andrew Thomases                                  P.O. Box 1347
Carolyn L. Redding                               Wilmington, DE 19899
ROPES & GRAY LLP                                 (302) 658-9200
1900 University Avenue, Sixth Floor              jblumenfeld@mnat.com
East Palo Alto, CA 94303                         skraftschik@mnat.com
(650) 617-4000
                                                 Attorneys for Defendant
Michael Gershoni
ROPES & GRAY LLP
2099 Pennsylvania Avenue, NW
Washington, DC 20006-6807
(202) 508-4600

January 24, 2018
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on January 24, 2018, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

January 24, 2018, upon the following in the manner indicated:

Stamatios Stamoulis, Esquire                                           VIA ELECTRONIC MAIL
Richard C. Weinblatt, Esquire
STAMOULIS & WEINBLATT LLC
Two Fox Point Centre
6 Denny Road, Suite 307
Wilmington, DE 19809
Attorneys for Plaintiff

Randall T. Garteiser, Esquire                                          VIA ELECTRONIC MAIL
Christopher A. Honea, Esquire
Kirk J. Anderson, Esquire
GARTEISER HONEA, P.C.
119 West Ferguson Street
Tyler, TX 75702
Attorneys for Plaintiff



                                              /s/ Jack B. Blumenfeld
                                              ___________________________
                                              Jack B. Blumenfeld (#1014)
